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GURBIR S. GREWAL
ATTORNEY GENERAL OF NEW JERSEY
R.J. Hughes Justice Complex
25 Market Street,
P.O. Box 112
Trenton, New Jersey 08625-0112
Attorney for Defendants New Jersey Department of Corrections and Marcus
O. Hicks

By:   Niccole L. Sandora
      Attorney ID# 240632017
      Deputy Attorney General
      (609)376-2958
      Niccole.Sandora@law.njoag.gov

                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                              NEWARK VICINAGE

                                          :
 James Grushack,                            HON. JOHN MICHAEL VAZQUEZ, U.S.D.J.
                                          : HON. MARK FALK, U.S.M.J.
                   Plaintiff,
                                              CIVIL ACTION NO. 2:21-CV-00623
             v.                           :

 New Jersey Department of Corrections;    :
 Marcus O. Hicks, in his official
 capacity as Commissioner of the NJ
 Department of Corrections; New Jersey
                                          :
 Department of Human Services; Carole
 Johnson, in her official capacity as     :       CERTIFICATION IN SUPPORT OF
 Commissioner of the NJ Department of            DEFENDANTS’ MOTION TO DISMISS
 Human Services; New Jersey Department    :
 of Health; Judith M. Persichilli, , in
 her official capacity as Commissioner
 of the NJ Department of Health;          :
 Merrill   Main;  Marc   Sims;   George
 Robinson; James Slaughter; Ken Rozov;    :
 Shantay Adams; Dr. Dooreen Stanzione;
 Therapist    Doe   1-2;    John    Doe
 Corrections Officers 1-3; John Doe 1-
                                          :
 10 and State Agency 1-10.
                                          :
                   Defendants.
                                          :

      I, NICCOLE L. SANDORA, of full age, hereby certify:

      1.    I am licensed to practice law in the State of New Jersey

and am admitted to practice before the United States District
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Court, District of New Jersey.       I am employed by the State of New

Jersey Office of the Attorney General, Department of Law and Public

Safety, Division of Law as a Deputy Attorney General.

      2.    I submit this certification on behalf of Defendants

Department of Corrections and Marcus O. Hicks, in support of their

Motion to Dismiss Plaintiff’s Complaint.

      3.    Attached hereto as “Exhibit A” is a true and accurate

copy of a certification prepared by Peter Ramos, Supervisor of

Claims, State of New Jersey, Department of the Treasury, Division

of Risk Management regarding Plaintiff James Grushack’s Notice of

Tort Claim, which was received by the Division of Risk Management

on or about February 6, 2020.

      4.    Attached hereto “Exhibit B,” is a true and accurate copy

of the Notice of Tort Claim, received by the Division of Risk

Management on or about February 6, 2020.

      I certify that the foregoing statements made by me are true.

I am aware that if any of the foregoing statements are willfully

false, I am subject to punishment.


                                   /s/ Niccole L. Sandora
                                   Niccole L. Sandora
                                   Deputy Attorney General


Date: May 10, 2021




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                  Exhibit A
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                  Exhibit B
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